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 7                                 UNITED STATES DISTRICT COURT

 8                                EASTERN DISTRICT OF CALIFORNIA

 9
      GERALD CARLIN, JOHN RAHM, PAUL
10    ROZWADOWSKI and DIANA WOLFE,                       Case No. 1:09-cv-00430-AWI-EPG
      individually and on behalf of themselves and all
11    others similarly situated,
                                       Plaintiffs,
12                                                       ORDER GRANTING IN PART AND
      v.                                                 DENYING IN PART MOTION FOR
13                                                       MODIFCATION OF MINUTE ENTRY
      DAIRYAMERICA, INC., and CALIFORNIA
14    DAIRIES, INC.                                      (Doc. 362)
                               Defendants
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             A settlement conference was held in this case October 3, 2016. (ECF No. 359.)
17
      Immediately following the conclusion of the settlement conference, the Court entered the
18
      following minute entries:
19

20           MINUTES (Text Only) for proceedings before Magistrate Judge Erica P.
             Grosjean: SETTLEMENT CONFERENCE held on 10/3/2016; CASE NOT
21           SETTLED. Plaintiffs' Counsel Benjamin Brown, George Farah, Cari Laufenberg,
             Aidan Chowming Poppler, and Mark Griffin present. Counsel for defendant
22           DairyAmerica, Inc., Charles English, Allison Davis, and Sanjay Nangia present
             and also present on behalf of DairyAmerica, Inc., were Messrs. Huffman and
23           Murfield. Counsel for defendant California Dairies, Inc., Lawrence Cirelli, Megan
24           Oliver Thompson, and David Tartagalio present and also present on behalf of
             California Dairies, Inc., were Messrs. Krajec, Smith, Erba, Moon, and
25           Schoenveld.

26           (ECF No. 359.)
27
             MINUTE ORDER: (TEXT ENTRY ONLY) The settlement conference held on
28           October 3, 2016, was concluded by the Court after discussions with California
             Dairies, Inc. indicating that the settlement conference was premature with regards
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              to California Dairies because that defendant was not prepared to settle the case
 1            today on any reasonable terms. The other parties, Plaintiffs and DairyAmerica,
 2            Inc., have leave of the Court to request that California Dairies reimburse the costs
              they incurred to prepare for and attend the settlement conference by filing a
 3            request with the Court no later than October 11, 2016.

 4            (ECF No. 360.)

 5            On October 11, 2016, California Dairies, Inc. filed the instant motion requesting

 6    modification of the minutes at ECF No. 359 in order to “accurately reflect the attorneys and

 7    individuals who appeared on behalf of California Dairies, as stated during appearances taken by

 8    the Court at the beginning of the settlement conference.” (ECF No. 362-1 at 2.)            Second,

 9    California Dairies requests that the Court correct and clarify the minute order at ECF No. 360 in

10    order to “accurately reflect which party in attendance made the statements referenced therein.”

11    (Id.)

12            A hearing was held on November 18, 2016, wherein the motion to modify the minute

13    entry was discussed. (ECF No. 369.) For the reasons disclosed on the record at the November 18

14    hearing, Defendant California Dairies’ motion (ECF No. 362) is granted in part and denied in

15    part. The minutes (ECF No. 359) shall be amended and modified as follows:

16            MINUTES (Text Only) for proceedings before Magistrate Judge Erica P.
              Grosjean: SETTLEMENT CONFERENCE held on 10/3/2016; CASE NOT
17            SETTLED. Plaintiffs' Counsel Benjamin Brown, George Farah, Cari Laufenberg,
18            Aidan Chowming Poppler, and Mark Griffin present. Counsel for defendant
              DairyAmerica, Inc., Charles English, Allison Davis, and Sanjay Nangia present
19            and also present on behalf of DairyAmerica, Inc., were Messrs. Huffman and
              Murfield. Counsel for defendant California Dairies, Inc., Lawrence Cirelli, Megan
20            Oliver Thompson, and David Tartagalio present and also present on behalf of
              California Dairies, Inc., were Messrs. Krajec, Smith, Erba, Moon, and
21
              Schoenveld. California Dairies was represented at the settlement conference by its
22            counsel, Lawrence Cirelli and Megan Oliver Thompson. In addition, the
              following individuals attended for California Dairies: Dr. Eric Erba, Senior Vice
23            President and Chief Strategy Officer; John Moons, Chairman of the Board of
              Directors and dairy farmer member of California Dairies; and BJ Schoneveld,
24            member of the Board of Directors and dairy farmer member of California Dairies.
              Attorney David Tartaglio appeared only on behalf of his client, RSUI Indemnity
25
              Company (“RSUI”), which is one of California Dairies’ insurers. Mr. Krajec is a
26            representative of RSUI, and Mr. Smith is counsel for RLI, which is also one of
              California Dairies’ insurers.
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 1         Additionally, the minute order (ECF No. 360) shall be amended and modified as follows:

 2         MINUTE ORDER: (TEXT ENTRY ONLY) The settlement conference held on
 3         October 3, 2016, was concluded by the Court after discussions with California
           Dairies, Inc. indicating that the settlement conference was premature with regards
 4         to California Dairies because that defendant was not prepared to settle the case
           today on any reasonable terms. The other parties, Plaintiffs and DairyAmerica,
 5         Inc., have leave of the Court to request that California Dairies reimburse the costs
           they incurred to prepare for and attend the settlement conference by filing a
 6         request with the Court no later than October 11, 2016.
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 9    IT IS SO ORDERED.

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        Dated:   December 5, 2016                            /s/
11                                                   UNITED STATES MAGISTRATE JUDGE

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